[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]ORDER
This is an application for a change of name, brought by the petitioner, Rodney Rice, whose date of birth is September 11, 1971, has petitioned this court to order a change of name to Husam al Din Shakur Muhammd.
This matter was heard before the court on December 5, 1994, whose jurisdiction exists pursuant to Connecticut General Statutes § 52-11.
The foregoing application for change of name being heard and presented, it is hereby GRANTED subject to the following conditions:
(1) Criminal records in existence on this date shall not be altered as a result of this order.
(2) The Department of Corrections, for security and administrative purposes, need not substitute petitioner's new name for his commitment name, although his new name may be listed on departmental records as an alias.
(3) All correspondence to and from petitioner must be addressed in a manner to include the name under which he was committed, Rodney Rice.
(4) The Department of Corrections shall send petitioner's fingerprints along with petitioner's commitment name, new name and date of birth to the State Police Bureau of Identification, 294 Colony Street, Meriden, Connecticut 06450, which information may be used for law enforcement purposes.
(5) In the event petitioner's fingerprints are not on file with the Department, he shall submit to fingerprinting.
Teller, J. CT Page 12368